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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO


         United States of America                     )
                    v.                                )
                                                      )
            CHARL LE ROUX                             )       Case No. 21-mj-108-MEH
                                                      )
                  Defendant                           )




                 BRIEF IN SUPPORT OF MOTION TO RESTRICT ACCESS


       The United States of America, by District of Colorado Acting United States Attorney

Matthew T. Kirsch, through Assistant United States Attorney Bryan Fields, hereby files this Brief

in Support of its motion to restrict at Level 1 the portions of the affidavit in support in support of

the arrest warrant, ECF NO. 01-01, as reflected in the attached redacted version of that affidavit.

The “Level 1” restriction would make the undredacted portions of the affidavit, and any order

regarding the contents of that affidavit, “Viewable by Partiesr & Court Only,” and as grounds

therefore submits the following:

       1.        Said Affidavit in Support of the Arrest Warrant was been filed as part of an ongoing

investigation.    However, the defendant was arrested today and the grounds for that restricting the

entire affidavit are no longer applicable.    However, the to-be-redacted portions of the affidavit

contain the full names and addresses of uncharged subjects.     Revealing their names and addresses

would be contrary to Federal Rule of Criminal Procedure 49.1.      The government submits that this

is a compelling reason for the restriction. See D.C.COLO.LCrR 47.1(A).

       2.        Level 1 restriction is appropriate here because such a restriction would allow

counsel for the defendant to review the entire affidavit, without the identifying information of the

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uncharged subjects and their addresses being publicly disclosed. Because defense counsel is also

required to follow the Federal Rules of Criminal Procedure, this level of restriction — allowing

defense counsel to review the entire affidavit, but not the general public — balances the

defendant’s right to receive information related to other potential witnesses while also protecting

those witness’s privacy.

       3.      Accordingly, the government moves that the Court to restrict at Level 1 the portions

of the Affidavit in Support of Arrest Warrant docketed at ECF NO. 01-1, as reflected in the

attached redacted version of that same affidavit.

       Respectfully submitted this 22nd day of June, 2021.

                                                        MATTHEW T. KIRSCH
                                                        Acting United States Attorney

                                             By:        s/ Bryan David Fields
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                               CERTIFICATE OF SERVICE

        I hereby certify that on this 22nd day of June, 2021 I electronically filed the foregoing
BRIEF IN SUPPORT OF MOTION TO RESTRICT DOCUMENT with the Clerk of the Court
using the CM/ECF system which will send notification of such filing to counsel of record.


                                            s/ Bryan David Fields
                                            U.S. Attorney=s Office




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